Case 2:23-mc-51368-LVP-DRG ECF No. 32, PageID.2499 Filed 10/19/23 Page 1 of 7




                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

BOND PHARMACY INC., d/b/a AIS,
HEALTHCARE,                                              Civil Action No. 23-mc-51368

       Plaintiff-Counter Defendant                       E.D. Va. Case No. 22-cv-01343
v.
                                                         Linda V. Parker
ANTHEM HEALTH PLANS OF                                   United States District Judge
VIRGINIA, d/b/a ANTHEM BLUE
CROSS AND BLUE SHIELD,                                   David R. Grand
                                                         United States Magistrate Judge
      Defendant-Counterclaimant.
_______________________________/

 ORDER ON MOTIONS HEARD ON OCTOBER 12, 2023 (ECF Nos. 1, 3, 10, 27)

Background

       This miscellaneous action arises out of a lawsuit filed in the Eastern District of

Virginia (“E.D. Va. Action”), by plaintiff Bond Pharmacy Inc., d/b/a AIS Healthcare

(“AIS”) against defendant Anthem Health Plans of Virginia, d/b/a Anthem Blue Cross and

Blue Shield (“Anthem”). AIS is a licensed pharmacy and provider of home infusion

therapy (“HIT”). Anthem is one of the largest health insurance companies in the United

States, and has “[t]housands of [] members [who] receive specially compounded

medications and critical HIT services from AIS pursuant to the parties’ Agreement.”

       In short, in the E.D. Va. Action, AIS alleges that starting around October 2020,

Anthem “reviewed AIS’s drug claims,” asserted that “AIS’s billing practices were

incorrect,” and “refused to pay [AIS’s] submitted drug claims . . .” AIS made some changes

to its billing practices, but ultimately, “Anthem [] refused to pay all but a fraction of AIS

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Case 2:23-mc-51368-LVP-DRG ECF No. 32, PageID.2500 Filed 10/19/23 Page 2 of 7




drug charges . . .” In October 2022, “Anthem informed AIS that it will not pay any of

AIS’s current or future drug claims.” AIS alleges that Anthem owes it at least $525,000 in

outstanding drug claims. Thus, in the E.D. Va. Action, AIS asserts claims against Anthem

for breach of contract (Count I), anticipatory breach of contract (Count II), and unjust

enrichment (Count III), along with a claim for declaratory judgment as to the parties’ rights

under the Agreement (Count IV).

         The E.D. Va. Action proceeded through discovery, and towards the end of that

process AIS learned of an e-mail dated August 27, 2020, from attorney Robert Dindoffer

(“Dindoffer”) of The Health Law Partners law firm (“HLP”) to Jamie Burnett (“Burnett”)

of Anthem, with the subject line of “Compliance Concern/Complaint” (the “E-Mail”). The

E-Mail explained that HLP’s pharmacy industry and physician practice clients1 “have

become aware of certain alleged practices/billings of [AIS]” which “reasonably indicates

that AIS may not be in compliance with Anthem [] coverage standards and its Anthem

Provider Agreement . . .” The E-Mail requested that Anthem “review/investigate this

matter to ensure AIS is operating in compliance with your standards.”

         Rather than seeking discovery from Burnett, AIS instead chose to pursue third-party

discovery from HLP. Specifically, AIS served a Rule 45 subpoena seeking a 30(b)(6)

deposition of HLP regarding a variety of topics, including HLP’s knowledge of AIS’s

billing practices and its communications with third parties concerning AIS. The subpoena

also requested HLP to produce “nonprivileged” documents and communications related to



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    The clients’ names were known to HLP, but were not identified in the E-Mail.
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Case 2:23-mc-51368-LVP-DRG ECF No. 32, PageID.2501 Filed 10/19/23 Page 3 of 7




AIS, and its products, services, billing practices, etc. HLP produced documents and the

E-Mail’s author, Dindoffer, testified at a deposition on September 1, 2023.

          The transcript of Dindoffer’s deposition reflects a fairly contentious deposition, but

most of the disputes focused on one issue that is now also at the center the dispute before

this Court; AIS’s counsel asked multiple questions designed to discover the identity of

HLP’s clients who provided the information on which Dindoffer’s E-Mail was based.

Dindoffer’s counsel instructed him not to answer those questions, principally on the

grounds of attorney-client privilege.2 AIS’s counsel also attempted to question Dindoffer

about other related matters, such as, how it came to learn about AIS and obtain certain

information about it, and the substance of the information HLP did obtain about AIS.

Again, Dindoffer refused to answer based on attorney-client privilege.

          AIS then commenced this miscellaneous action, and filed an “Expedited Motion for

an Order Compelling Production of Documents and Testimony” after HLP allegedly

“refused to provide a competent [30(b)(6)] witness and withheld documents and testimony

based on facially improper objections.” (ECF No. 11, PageID.938).3 The case was referred

to the undersigned for all pretrial purposes pursuant to 28 U.S.C. § 636(b). (ECF No. 12).

The Court held an informal telephonic status conference and determined that AIS’s request

for an expedited briefing schedule was unnecessary, though it agreed to an expedited

hearing date of October 12, 2023. HLP filed a response brief (ECF No. 21), and AIS filed


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    A few “relevance” objections were also lodged to questions about the identities of HLP’s clients.
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  The docket contains multiple copies of this motion, some filed under seal and some containing
redactions.
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Case 2:23-mc-51368-LVP-DRG ECF No. 32, PageID.2502 Filed 10/19/23 Page 4 of 7




a reply (ECF No. 26).4

Applicable Legal Standards

       Federal Rule of Civil Procedure 26(b)(1) provides, “[u]nless otherwise limited by

court order, the scope of discovery is as follows: Parties may obtain discovery regarding

any nonprivileged matter that is relevant to any party's claim or defense and proportional

to the needs of the case, considering the importance of the issues at stake in the action, the

amount in controversy, the parties’ relative access to relevant information, the parties’

resources, the importance of the discovery in resolving the issues, and whether the burden

or expense of the proposed discovery outweighs its likely benefit. Information within this

scope of discovery need not be admissible in evidence to be discoverable.” Fed. R. Civ. P.

26(b)(1). Relevant evidence is that which “has any tendency to make a fact more or less

probable than it would be without the evidence” and “the fact is of consequence in

determining the action.” Fed. R. Evid. 401(a), (b).

       While federal courts have “supervisory power over [their] own records and files,”

Nixon v. Warner Comm'ns, Inc., 435 U.S. 589, 590 (1978), there exists a “strong

presumption in favor of openness” of court filings. Brown & Williamson Tobacco Corp.

v. FTC, 710 F.2d 1165, 1179 (6th Cir. 1983). Indeed, “[u]nlike information merely

exchanged between the parties, ‘[t]he public has a strong interest in obtaining the

information contained in the court record.’” Shane Group, Inc. v. Blue Cross Blue Shield

of Mich., 825 F.3d 299, 305 (6th Cir. 2016) (quoting Brown & Williamson, 710 F.2d at


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 The docket also contains motions to seal certain exhibits and portions of the briefs, which the
Court will discuss below.
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Case 2:23-mc-51368-LVP-DRG ECF No. 32, PageID.2503 Filed 10/19/23 Page 5 of 7




1180). This is because “the public is entitled to assess for itself the merits of judicial

decisions,” and, thus, “‘[t]he public has an interest in ascertaining what evidence and

records the District Court [has] relied upon in reaching [its] decisions.’” Id. (quoting

Brown & Williamson, 710 F.2d at 1181). The burden of overcoming the presumption “is

a heavy one: ‘Only the most compelling reasons can justify non-disclosure of judicial

records.’” Id. (quoting Knoxville News, 723 F.2d at 476).

Discussion

       Motion to Compel

       The parties devoted much of their briefing efforts to whether the identities of HLP’s

clients who provided the information that led to the issuance of the E-Mail are privileged.

However, in its response brief, HLP’s principal argument is that “the identity of the

client(s) is neither relevant nor material” to the specific claims and defenses in the E.D.

Va. Action because “the record evidence is undisputed that Anthem did not know the

identity of the client(s) and therefore, the identity of the client(s) did not and could not have

impacted any decision Anthem made” as to Anthem’s refusal to pay AIS’s invoices. For

the detailed reasons stated on the record at the hearing on AIS’s motion, the Court agrees

both with HLP’s description of the record evidence, and with its conclusion that the identity

of its client(s) is not relevant to the claims and defenses in the E.D. Va. Action. (See also

ECF No. 21-6, PageID.1706-08). Similarly, and as explained in detail on the record,

information in HLP’s possession that it did not share with Anthem is irrelevant to those




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Case 2:23-mc-51368-LVP-DRG ECF No. 32, PageID.2504 Filed 10/19/23 Page 6 of 7




matters. Accordingly, the Court will deny AIS’s motion to compel.5

       Motions to Seal

       As for the motions to seal, at oral argument, HLP’s counsel agreed that, in light of

the Court’s relevancy ruling, it need only specifically address HLP’s contention that the

averments in Dindoffer’s declaration (some of which were referenced in HLP’s response

brief) related to his communications with HLP’s client(s) are subject to the attorney-client

privilege. (ECF No. 31, PageID.2462) (“the only portions of anything that we would ask

to remain sealed are portions of Mr. Dindoffer's [sealed] declaration provided to Your

Honor, where we have redacted, and portions of our [sealed] response to Your Honor where

we have redacted . . .”). The Court agrees with HLP that the privilege applies to those

materials and that they are properly sealed.

       Dindoffer’s sealed declaration clearly describes communications from his client(s)

seeking legal advice, and those matters, the work HLP performed in response to receiving

such request(s), and HLP’s conclusions are further discussed in HLP’s sealed response

brief. (ECF Nos. 21-6, PageID.1714-16) (“. . . HLP was retained by client(s) to provide

legal advice regarding . . . The client also sought legal advice concerning . . . HLP attorneys

reviewed . . .”); 21-8, PageID.1732-37)). Thus, the motions to seal will be granted in part


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  The foregoing notwithstanding, HLP agreed to provide a sworn supplemental declaration from
Dindoffer attesting to the fact that HLP has produced to AIS all documents (including e-mails) and
information that it shared with Anthem regarding AIS. IT IS ORDERED that HLP shall provide
such supplemental declaration within one week. While the Court was not necessarily welcoming
it, the Court agreed to permit an additional deposition of Dindoffer for the limited purpose of
“get[ting] confirmation under oath, on the record” regarding the averments in the supplemental
declaration, which deposition the Court assumes would be “very short,” if it takes place at all.
(ECF No. 31, PageID.2497). Obviously, to the extent the supplemental declaration provides
information different than represented at the hearing, AIS may inquire into those matters, as well.
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Case 2:23-mc-51368-LVP-DRG ECF No. 32, PageID.2505 Filed 10/19/23 Page 7 of 7




and denied in part as discussed above.

Conclusion

      For all of the foregoing reasons, IT IS ORDERED that AIS’s motion to compel

(ECF Nos. 3, 10) is DENIED, and that the motions to seal certain documents in the record

(ECF Nos. 1, 27) are GRANTED IN PART AND DENIED IN PART AS DISCUSSED

ABOVE.

      IT IS SO ORDERED.

Dated: October 19, 2023                  s/ David R. Grand
                                         DAVID R. GRAND
                                         UNITED STATES MAGISTRATE JUDGE


             NOTICE TO THE PARTIES REGARDING OBJECTIONS

       The parties’ attention is drawn to Fed. R. Civ. P. 72(a), which provides a period of
fourteen (14) days from the date of receipt of a copy of this order within which to file
objections for consideration by the district judge under 28 U.S. C. § 636(b)(1).



                            CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served upon counsel of
record and any unrepresented parties via the Court’s ECF System to their respective email
or First Class U.S. mail addresses disclosed on the Notice of Electronic Filing on October
19, 2023.

                                                s/Eddrey O. Butts
                                                EDDREY O. BUTTS
                                                Case Manager




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